Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 1 of 6




                                               600 (TWD)
           Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 2 of 6




           AFFIDAVIT OF DEA TASK FORCE OFFICER DANIEL BABBAGE

Daniel Babbage, being duly sworn, deposes and says:

I. INTRODUCTION

   1. I am a public servant of the kind specified in the New York State CPL 690.05(1), my title

being a Police Officer. I have been a sworn member of the Syracuse Police Department since

November 1995. I am currently assigned to the United States Department of Justice, Drug

Enforcement Administration (DEA) Syracuse Resident Office as a Task Force Officer. I have

been a sworn member of the DEA Syracuse Resident Office Task Force since November 2019.

As such I am an “investigative or law enforcement officer” of the United States within the meaning

of Section 2510(7) of title 18, United States Code, that is, an officer of the United States who is

empowered by law to conduct investigations and to make arrests for offenses enumerated in Title

21 United States Code, Section 801, et seq. and Title 18, United States Code, Section 2516. I have

attended    the   following     trainings/schools:    DEA      Basic    Narcotics     School,    DEA

Supervisor/Leadership School, Interview & Interrogation School, Highway/ Transit Drug

Interdiction School, Instructor Development School, Dignitary/Executive Protection School,

Firearms Instructor School, Basic SWAT/Hostage Rescue School & Basic Explosive Breacher

Course. I have participated in numerous successful investigations into illicit drug distribution

networks and have interrogated numerous defendants, informants and others who were either

sellers, distributors, or users of narcotics and other illicit drugs. Also, I have been involved in the

monitoring, intercepting and recording of court-ordered wiretaps, and have participated in

numerous search warrants/arrest warrants involving narcotics trafficking. In addition to my above-

mentioned experience, I have had the opportunity to speak with and observe other federal, state




                                                  1
           Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 3 of 6




and city narcotics officers with regard to the manner in which narcotics are possessed, sold, and

distributed in the Syracuse, NY area.

   2. I have participated in numerous searches of residences, businesses and vehicles in which

controlled substances, drug paraphernalia, currency, and records were discovered. My experience

as well as conversations with other law enforcement officers, as detailed herein, will serve as the

basis for any opinions or conclusions set forth below. I have personally participated in the

investigation of the offenses set forth below and as a result of my participation and my review of

past and present reports made by other Special Agents of the DEA, and other state and local law

enforcement agencies, I am fully familiar with the facts and circumstances of this investigation. I

have participated in several multi-agency narcotics investigations. During the course of these

investigations, I have conducted or participated in surveillance, undercover transactions, execution

of search warrants, debriefings of informants, and reviews of tape-recorded conversations and

narcotics records.

   3. I submit this affidavit in support of a criminal complaint charging defendant MAURICE

GRAVES with possession with intent to distribute controlled substances, to wit: cocaine base, a

Schedule II controlled substance, and fentanyl, a Schedule II controlled substance, in violation of

Title 21, United States Code, Sections 841(a)(1). I further allege that there is probable cause to

believe the offense involved 28 grams or more of a mixture and substance which contained cocaine

base, in violation of Title 21, United States Code, Section 841(b)(1)(B), and involved fentanyl, in

violation of Title 21, United States Code, Section 841(b)(1)(C).

II. BASIS OF INFORMATION

   4. As this affidavit is being submitted for the limited purpose of providing probable cause to

support charging MAURICE GRAVES with possession with intent to distribute controlled



                                                 2
           Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 4 of 6




substances, I have not included each and every fact known to me concerning this investigation. I

set forth only the facts which I believe are necessary to establish probable cause for the issuing of

a criminal complaint.

III. PROBABLE CAUSE

   5. On November 17, 2020, I applied for warrants to search (i) a 2011 White Ford Edge (the

White Ford Edge) and (ii) a residence located on Thompson Road in Dewitt, New York (the

Thompson Road Residence). As I explained in the application in support of those search warrants,

over the past two months, law enforcement had repeatedly observed MAURICE GRAVES

coming and going from the Thompson Road Residence in ways suggesting that he lived there.

Some of the surveillance of GRAVES coming and going from the Thompson Road Residence was

connected to suspected drug trafficking activity. As I also described in my November 17 affidavit

in support of the search warrant application, law enforcement over the past two months has

repeatedly observed GRAVES operating the White Ford Edge, including during suspected drug

transactions. This Court (Hon. Thérèse Wiley Dancks, USMJ) issued the requested search

warrants that same day (November 17, 2020).

   6. On the morning of November 18, 2020, law enforcement was positioned outside the

Thompson Road Residence in anticipation of executing the search warrants. Officers observed

the White Ford Edge arrive and park in the parking lot outside the Thompson Road Residence.

Officers observed GRAVES exit the White Ford Edge and walk toward the Thompson Road

Residence. Officers restrained GRAVES and placed him in handcuffs. Officers conducted a pat

search of GRAVES. Officers located in GRAVES’s right coat pocket a baggie containing a white

chunky substance consistent in appearance with cocaine base (“crack” cocaine). In the same




                                                 3
             Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 5 of 6




pocket, officers located approximately 7 ½ “bricks” 1 (375 individual bags) of a tan powdery

substance consistent in appearance with heroin. In GRAVES’s left pants pocket, officers located

a sum of United States currency. Officers searched the White Ford Edge and located a scale in the

rear compartment. I know from my training and experience that scales are frequently used in drug

trafficking to weigh quantities of drugs for distribution.

      7. The suspected cocaine base and suspected heroin were transported to the DEA Syracuse

Regional Office. The suspected cocaine base weighed approximately 34.8 grams including the

baggie. From my training and experience, I am confident that the net weight of the substance (i.e.,

without packaging) is at least 28 grams. The substance was field tested and was presumptively

positive for the presence of cocaine base. A sample of the suspected heroin was field tested and

was presumptively positive for the presence of fentanyl. I know from my training and experience

that the quantities of drugs possessed by GRAVES are more than for individual use and are

consistent with distribution.

IV. CONCLUSION

      8. I believe the foregoing establishes probable cause to believe that defendant MAURICE

GRAVES possessed with intent to distribute controlled substances, to wit: cocaine base, a

Schedule II controlled substance, and fentanyl, a Schedule II controlled substance, in violation of

Title 21, United States Code, Section 841(a)(1). I also believe that the foregoing establishes that

there is probable cause to believe the offense involved 28 grams or more of a mixture and substance

containing cocaine base, in violation of Title 21, United States Code, Section 841(b)(1)(B), and

involved fentanyl, in violation of Title 21, United States Code, Section 841(b)(1)(C).




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    A “brick” is 50 individual dose bags of heroin.
                                                  4
Case 5:21-cr-00057-FJS Document 1 Filed 11/18/20 Page 6 of 6
